                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                     DOCKET NO. 3:09cr52-FDW
                                                3:00cr52-FDW


UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )
                v.                                 )         FINAL ORDER AND JUDGMENT
                                                   )           CONFIRMING FORFEITURE
(2) LUCIANO CASTRO MANZANAREZ,                     )
                                                   )
                        Defendant.                 )
                                                   )

        On September 1, 2009, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. §853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s plea of guilty on Count One

in the Superseding Bill of Indictment. As to Count One, Defendant was charged with conspiracy to

possess with intent to distribute a controlled substance, in violation of 18 U.S.C. § 841(a)(1) and §

846.

        On September 27, 2009 through October 26, 2009, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition the

Court within sixty days from September 27, 2009 for a hearing to adjudicate the validity of any

alleged legal interest in the property. It appears from the record that no such petitions have been

filed. Based on the record in this case, including the defendant’s plea of guilty, the Court finds, in

accordance with Rule 32.2(c)(2), that the Defendant had an interest in the property that is forfeitable

under the applicable statute.

        It is therefore ORDERED:



       Case 3:09-cr-00052-FDW             Document 157          Filed 02/10/10       Page 1 of 2
        In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as final.

All right, title, and interest in the following property, whether real, personal, or mixed, has therefore

been forfeited to the United States for disposition according to law:

                One Colt .45 handgun, serial number 736123 and ammunition; and

                One 9mm Smith and Wesson, serial number 581116 and ammunition.

                                                   Signed: February 10, 2010




                                                   2



       Case 3:09-cr-00052-FDW            Document 157          Filed 02/10/10      Page 2 of 2
